USCA4 Appeal: 22-6432    Doc: 26        Filed: 08/26/2024   Pg: 1 of 4




                                         UNPUBLISHED

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT



                                            No. 22-6432


        JONATHAN JOSEPH LIND,

                          Petitioner - Appellant,

                   v.

        RALPH TERRY, Superintendent,

                          Respondent - Appellee,

                   and

        DAVID BALLARD, Warden,

                          Respondent.



                                            No. 23-6329


        JONATHAN JOSEPH LIND,

                          Petitioner - Appellant,

                   v.

        RALPH TERRY, Superintendent,

                          Respondent - Appellee,

                   and
USCA4 Appeal: 22-6432      Doc: 26         Filed: 08/26/2024    Pg: 2 of 4




        DAVID BALLARD, Warden,

                            Respondent.



        Appeals from the United States District Court for the Southern District of West Virginia,
        at Charleston. Thomas E. Johnston, Chief District Judge. (2:14-cv-26284)


        Submitted: July 31, 2024                                          Decided: August 26, 2024


        Before KING, QUATTLEBAUM, and RUSHING, Circuit Judges.


        Dismissed by unpublished per curiam opinion.


        Jonathan Joseph Lind, Appellant Pro Se. Andrea Nease Proper, Michael Ray Williams,
        OFFICE OF THE ATTORNEY GENERAL OF WEST VIRGINIA, Charleston, West
        Virginia, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               In these consolidated appeals, Jonathan Joseph Lind seeks to appeal the district

        court’s order denying various nondispositive motions, the court’s order accepting the

        recommendation of the magistrate judge and denying relief on Lind’s 28 U.S.C. § 2254
        petition, and the court’s order denying his Fed. R. Civ. P. 59(e) motion to alter or amend

        the judgment. The orders are not appealable unless a circuit justice or judge issues a

        certificate of appealability. See 28 U.S.C. § 2253(c)(1)(A). A certificate of appealability

        will not issue absent “a substantial showing of the denial of a constitutional right.” 28

        U.S.C. § 2253(c)(2). When the district court denies relief on the merits, a prisoner satisfies

        this standard by demonstrating that reasonable jurists could find the district court’s

        assessment of the constitutional claims debatable or wrong. See Buck v. Davis, 580 U.S.

        100, 115-17 (2017). When the district court denies relief on procedural grounds, the

        prisoner must demonstrate both that the dispositive procedural ruling is debatable and that

        the petition states a debatable claim of the denial of a constitutional right. Gonzalez v.

        Thaler, 565 U.S. 134, 140-41 (2012) (citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)).

               As a preliminary matter, we grant Lind’s motion to supplement the informal

        appendix. In addition, limiting our review of the record to the issues raised in Lind’s

        informal brief, we conclude that Lind has not made the requisite showing. See 4th Cir. R.

        34(b); see also Jackson v. Lightsey, 775 F.3d 170, 177 (4th Cir. 2014) (“The informal brief

        is an important document; under Fourth Circuit rules, our review is limited to issues

        preserved in that brief.”). Accordingly, deny his motion to certify, deny his motions to

        appoint counsel, deny a certificate of appealability, and dismiss the appeals.

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              We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                 DISMISSED




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